             EXHIBIT B




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                                                                 First and Second Ilefendants
                                                                                PTF Grayson
                                                                                         f irst
                                                                                 29 Ju,ly2020

                                                                  Claim Nor 0B-2020-002492
 IN TIIE HIGH COURT OF JUSTICE
 QITEEN'S BENCH DwISTON
 BETWEEN:
                          STOKOE PARTIVERSHIP SOLICITORS

                                                                                      Claimant
                                             -and-
                  (1) MR PATRJCK TRTSTRAM r,rtrucANE GRAYSON
                                (2) GRAYSON + CO LTMITEI)
                               (3) MR STUART ROBERT PAGE
                 (4) PAGE CORPORATE IIYYESTIGATIONS LIN{ITED



                                                                                   Defendants


                                       AFT'IDAYIT OF'
                     PATRICK TRISTRAM T'INIUCANE GRAYSON



I, Patick Tristram Finucane Grayson of 3 Rosenau Crescent, London SWll 4Ry MAKE
OATH AND SAY AS F'OLLOWS:


1'      I atn the First Defendant in this action. I am also a director of the Second Defendant:
        a company registered in England and Wales    with eompany number rcg0764g. I make
       this Affidavit for myself and also on behalf of the Second Defendant
                                                                            by whom I am
       duly authorised to make this Affidavit.


2'     I make this Affidavit in order to comply with paragraph 44 of the Consent order in
       these proceedings dated 24 July 2a20. I adopt in this Affidavit
                                                                       the abbreviations used
       in the Consent Order.




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       The facts and matters stated in this Affidavit are within my own knowledge and are
       true.



Paragraph ,A.4 of the Consent Qrder

4.     I set out below in quotation marks the questions in paragraph A4 ofthe Consent Answer
       which I then answer. For convenience I have retained the paragraph numbering in
       paragraph   44. In my answers, as indicated above, I have adopted the definition of
       "Confidential Information" set out in paragraph Al of the Consent Order which for
       convenience I set out here:


        *l.l    'Confidential Information' shall mean any information sourced or derived, in

                whole or in part, from any document, whether paper or electronic, thot has been
                obtained from the Claimant without its authority and is either designated as
                confidential, or is evidently conJidential by reason of its subiect-matter or the
                manner in which it has been obtained.'


        1.2      'Confidential Information' shall include, but shall not be limited   to: (i) the
                Claimant's banking records, accounts and statements: (ii) the Claimant's
                telephone records, ctccounts and statements; and (iii) documents which have not

                been publishetl and which,     on their face, relate to the conduct of the legal
                proceedings of Mr Karam Al Sadeq."



Ouestion
4.t        "the identity of the person who has requested him to ohtain Confidential ldormation

          from or pertaining to the Claimant, directly or indirectly."


 Answer
 4.t       Nobody requested me to obtain Confidential Information from or pertaining to the
           Claimant, directly or indirectlY.




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 Ouestion
 4'2        "(i) the manner in u,hich the communication took place, (ii) the gist of the requests
            made, (iii) whether the requests were in writing, and
                                                                  1iv) if in writing, providing a
            c,py if one exists in the possession or control of the Defendant."


 Answer
 4.2        Does not arise in view of my answer to
                                                   euestion    4.l.


 Ouestion
 4'3        "what, tf any, Conltdential Information originotingfrom the Claimant
                                                                                 was obtained;,,


 Answer
 4'3        I did not obtain any Confidential Information regarding the Claimant.


 Ouestion
 4'4       "the use, if any, Confidential Information, identifying any person
                                                                              to whom it has been
           provided and in respect of each person stating; (i) when,. (ii)
                                                                           where, and (iii) how the
           Confidential was provided, and (iv)
                                               for  what purpose,.,,


Answer
4.4        Nobody.   See 4.3 above.



Ouestion
4"5       "the treatment, tf any, of the Confidential Information, identifying
                                                                                 any steps taken in
          relation to its handling, storoge, presetryation and/or destruction.,,


Answer
4.5       See Answer 4.3 above.



Conclusion
5'     As is apparent from my answers above, I never asked Mr Robinson
                                                                       to obtain




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Confidential Information relating to the Claimant.


SWORN lXPatrick Tristram Finucane Grayson
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                  ,^
           '!'   t4
Signed:
            \ryj=
This 29th day of July 2020


Acknowledged before me by the above named this 29th day of July 2020, he having solemnly
averred the truth of the above contents.




Signed: .....
Name:               i# @Lr t
Qualification:     Jott ctTo{
Address:

                       rvoodsiock $r:licttor   .


                       ::ir:i1 Floor
                        2 i"lew Roacl
                       vrloodslodt
                       )x20'lPs




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                                    QUEEN'S BENCH DIWSION
                                    BETWEEN:
                                     STOKOE PARTFI"ERSIilP SOLICITORS

                                                                        Clqimant
                                                      -and-
                                    (1) MR PATRTCK TRTSTRAM f,'rNUCAhl-E

                                                    GRAYSON
                                         (2) GRAYSON +     co   LTMTTED
                                       (3) MR STUART ROBERT PAGE
                                            (4) PAGE CORPORATE
                                         II\MESTIGATIONS LIMITEI)


                                                                      Defendants


                                                AFFIDAYIT      OT'
                                      PATRICK TRISTRAM F'INUCANE
                                                   GRAYSON




                                       BDB Pitmans LLp
                                       The Anchorage,
                                       34 Bridge Street,
                                       Reading RGl 2LU
                                       Ref: TPC/ hw t200994.0001
                                       TeI:034 52229222
                                       Solicitors for the First and
                                       Second Defendants

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